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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

PABLO AMADOR-VALDEZ,                              *
                                                  *
                     Petitioner,                  *
                                                  *             No. 4:07cr00127 SWW
vs.                                               *            (No. 4:09cv00416 SWW)
                                                  *
                                                  *
                                                  *
UNITED STATES OF AMERICA                          *
                                                  *
                     Respondent.                  *

                                              ORDER

       Before the Court is petitioner Pablo Amador-Valdez’s 28 U.S.C. § 2255 motion to vacate,

set aside, or correct his sentence [doc.#526]. By previous Order, the Court concluded that an

evidentiary hearing is required for petitioner’s claims that counsel was ineffective for failing to

file a notice of appeal when instructed to do so by petitioner (Grounds I and II of petitioner’s §

2255 motion). That hearing is scheduled for Friday, October 16, 2009, at 3:00 p.m. The parties

are hereby informed that in addition to addressing petitioner’s claims that counsel was ineffective

for failing to file a notice of appeal when instructed to do so by petitioner, the Court will also

address petitioner’s claim that he was affirmatively “misled by [counsel] when he was told that

he would have a very good chance of not being deported to Mexico when it was very clear that

deportation proceedings were pending at the time he pleaded guilty” (Ground V of petitioner’s §

2255 motion).

                       IT IS SO ORDERED this 15th day of October 2009.

                                               /s/Susan Webber Wright

                                               UNITED STATES DISTRICT JUDGE
